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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 J.G.G., et al,                                                  :
                                                                 :    ORDER AMENDING CLASS
                                          Petitioners,           :    CERTIFICATION
                                                                 :
              -against-
                                                                 :
                                                                 :    25 Civ. 2886 (AKH)
 DONALD J. TRUMP, et al.,                                        :
                                                                 :
                                          Respondents.           :
                                                                 :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Petitioners move to amend the definition of the certified class by removing the

requirement that class members be in the custody of the United States, to ensure that the class

includes individuals subject to the Presidential Proclamation who are in state or local custody.

See ECF No. 33. I grant this motion. Accordingly, the class is hereby defined as:

         All noncitizens in federal, state, or local custody in the Southern District of New York
         who were, are, or will be subject to the March 2025 Presidential Proclamation entitled
         ‘Invocation of the Alien Enemies Act Regarding the Invasion of the United States by
         Tren De Aragua’ and/or its implementation, who have not been given notice following
         the Supreme Court's decision of April 7, 2025, Trump v. J.G.G., No. 24A931, 2025 WL
         1024097, and granted a hearing. The notice to be provided shall be written in English
         and Spanish, the language of those sought to be expelled, and if needed, Spanish-to-
         English interpreters shall be provided for hearings.

                 An amended temporary restraining order will be filed contemporaneously.

                 I also grant Petitioners’ motion to strike attorneys from Democracy Forward as

class counsel, and to add attorneys from the New York Civil Liberties Union as class counsel.

                 SO ORDERED.

Dated:           April 11, 2025                     _____________________________________
                 New York, New York                       ALVIN K. HELLERSTEIN
                                                          United States District Judge
Time:            1:10 p.m. EST



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